Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

     Civil Action No.:

     GLORIA JONES,

                    Plaintiff,

     v.

     PORTFOLIO RECOVERY ASSOCIATES, L.L.C.,
     a Delaware limited liability company,

                    Defendant.


                                 COMPLAINT AND JURY DEMAND


                                          JURISDICTION

     1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. §

            1692k(d).

     2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

            Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                                  VENUE

     3.     Venue is proper in this Judicial District.

     4.     The acts and transactions alleged herein occurred in this Judicial District.

     5.     The Plaintiff resides in this Judicial District.

     6.     The Defendant transacts business in this Judicial District.

                                             PARTIES

     7.     Plaintiff Gloria Jones is a natural person.
Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 2 of 7




     8.    The Plaintiff resides in the City of Denver, County of Denver, State of

           Colorado.

     9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

     10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d

           preface.

     11.   Defendant Portfolio Recovery Associates, L.L.C. is a Delaware limited

           liability company operating from an address at 120 Corporate Boulevard,

           Norfolk, Virginia, 23502.

     12.   The Defendant’s registered agent in the state of Colorado is Corporation

           Service Company, 1560 Broadway, Suite 2090, Denver, Colorado, 80202.

     13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. §

           1692a(6).

     14.   The Defendant is licensed as a collection agency by the state of Colorado.

     15.   The principal purpose of the Defendant is the collection of debts using the

           mails and telephone.

     16.   The Defendant regularly collects or attempts to collect, directly or indirectly,

           debts owed or due or asserted to be owed or due another.

     17.   The Defendant regularly collects or attempts to collect, directly or indirectly,

           debts owed or due or asserted to be owed or due another that arose out of

           transactions in which the money, property or services which are the subject

           of the transactions are primarily for personal, family or household purposes.




                                              2
Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 3 of 7




                                FACTUAL ALLEGATIONS

     18.   Sometime before 2012 the Plaintiff allegedly incurred financial obligations

           that were primarily for personal, family and household purposes namely

           amounts due and owing on personal accounts owed to Lens crafter and

           Lord and Taylor (hereinafter collectively referred to as the “Account”).

     19.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

     20.   The Account went into default with the original creditors.

     21.   After the Account went into default the Account was placed or otherwise

           transferred to the Defendant for collection.

     22.   After the Account went into default the Defendant claims to have

           purchased the Account.

     23.   The Account was placed or otherwise transferred to the Defendant for

           collection.

     24.   The Plaintiff disputes the Account.

     25.   The Plaintiff requests that the Defendant cease all further communication

           on the Account.

     26.   The Defendant’s collector(s) were employee(s) of the Defendant at all

           times mentioned herein.

     27.   The Defendant acted at all times mentioned herein through its

           employee(s).




                                             3
Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 4 of 7




     28.   In the year prior to the filing of the instant action the Plaintiff and the

           Defendant had telephone conversation(s) regarding the Account.

     29.   During the telephone conversation(s) in the year prior to the filing of the

           instant action between the Defendant and the Plaintiff regarding the

           Account the Defendant via its employee located the Account and informed

           the Plaintiff that the Defendant had the Plaintiff’s Account and stated the

           balances due on the Account.

     30.   During the telephone conversation(s) in the year prior to the filing of the

           instant action between the Defendant and the Plaintiff regarding the

           Account the Defendant represented to the Plaintiff that the Account would

           be reported to the credit bureaus until it is paid, that the Plaintiff had to

           have a valid reason to dispute the Account and that the Plaintiff’s dispute

           of the Account is not a valid dispute.

     31.   The Defendant’s representations stated in paragraph 30 were false and

           were false representations in connection with the collection of a debt, the

           Account.

     32.   The telephone conversation(s) in the year prior to the filing of the instant

           action between the Plaintiff and the Defendant and / or employee(s) of the

           Defendant each conveyed information regarding the Account directly or

           indirectly to the Plaintiff.

     33.   The telephone conversation(s) in the year prior to the filing of the instant

           action between the Plaintiff and the Defendant and / or employee(s) of the



                                             4
Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 5 of 7




           Defendant each constituted a “communication” as defined by FDCPA §

           1692a(2).

     34.   On information and belief the Defendant made a audio recording

           and/or audio recording(s) of its telephone conversation(s) with the

           Plaintiff in the year prior to the filing of the instant action.

     35.   On information and belief the Defendant has a copy and/or copies

           of the audio recording(s) of its telephone conversation(s) with the

           Plaintiff in the year prior to the filing of the instant action.

     36.   On information and belief the Defendant made audio recording(s) of

           some of its telephone conversation(s) with the Plaintiff in the year

           prior to the filing of the instant action.

     37.   On information and belief the Defendant has a copy or copies of

           some of the audio recording(s) of its telephone conversation(s) with

           the Plaintiff in the year prior to the filing of the instant action.

     38.   On information and belief the Defendant made audio recording(s) of

           all of its telephone conversation(s) with the Plaintiff in the year prior

           to the filing of the instant action.

     39.   On information and belief the Defendant has a copy and/or copies

           of the audio recording(s) of all of its telephone conversation(s) with

           the Plaintiff in the year prior to the filing of the instant action.

     40.   On information and belief the Defendant’s copies of the audio

           recording(s) of its telephone conversation(s) with the Plaintiff in the



                                                  5
Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 6 of 7




           year prior to the filing of the instant action substantiate the Plaintiff’s

           allegations in this action.

     41.   On information and belief the Defendant has electronic record(s)

           and/or computer record(s) and/or paper copy(s) of the information

           that it provided to Experian, Equifax and Transunion on the Account.

     42.   The     Defendant’s      action(s)       constitute   false   and     misleading

           representation(s) and mean(s) and violate FDCPA 1692e preface, e(2)(A)

           and e(10).

     43.   The Defendant’s action(s) constitute unfair or unconscionable means to

           collect or attempt to collect a debt and violate FDCPA 1692f preface.

     44.   “The Act is a strict liability statute; violations of the Act do not need to be

           intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

           F.Supp.2d 836, 840 (D.Az. 2011).

     45.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only

           demonstrate “one violation of its provisions” to be entitled to a favorable

           judgment.” Doshay v. Global Credit and Collection Corporation, 796

           F.Supp.2d 1301, 1304 (D.Colo. 2011).

     46.   As a consequence of the Defendant’s action(s) in the year prior to

           to filing of the instant action, the Plaintiff seeks damages pursuant

           to FDCPA § 1692k.

                                 COUNT I, FDCPA VIOLATION

     47.   The previous paragraphs are incorporated into this Count as if set forth in



                                                6
Case 1:14-cv-00115-WYD-KMT Document 1 Filed 01/15/14 USDC Colorado Page 7 of 7




            full.

     48.   The act(s) and omission(s) of the Defendant constitute a violation of the

            FDCPA § 1692e preface, e(2)(A), e(10) and § 1692f preface.

     49.    Pursuant to FDCPA § 1692k the Plaintiff seeks damages,

            reasonable attorney's fees and costs.

                                JURY TRIAL DEMAND

     The Plaintiff is entitled to and hereby demands a trial by jury.        U.S. Const.

     amend. 7., Fed. R. Civ. Pro. 38.

                                  DEMAND FOR RELIEF

     WHEREFORE, the Plaintiff requests that the Court grant the following:

     1.    A judgment in favor of the Plaintiff and against the Defendant.

     2.    Damages pursuant to 15 U.S.C. § 1692k(a).

     3.    Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

     4.    Such other and further relief as the Court deems just and proper.

                                              Respectfully submitted,

                                              _s/ David M. Larson        __________
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                                              7
